           Case 1:21-vv-00903-UNJ Document 49 Filed 06/24/24 Page 1 of 2




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-903V


    BRANDY ROMEO,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: May 23, 2024


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Julianna Rose Kober, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

       On February 10, 2021, Brandy Romeo filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that she suffered right shoulder injuries related to
vaccine administration resulting from the tetanus, diphtheria, and acellular pertussis
vaccination received on June 8, 2020. Petition, ECF No. 1. On September 26, 2023, I
issued a decision awarding compensation to Petitioner based on the Respondent’s
proffer. ECF No. 38.


1
 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
          Case 1:21-vv-00903-UNJ Document 49 Filed 06/24/24 Page 2 of 2




       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $13,723.94 (representing $13,201.40 in fees plus $522.54 in costs). Application for
Attorneys’ Fees and Costs (“Motion”) filed March 26, 2024, ECF No. 44. Furthermore,
counsel for Petitioner represents that Petitioner incurred no personal out-of-pocket
expenses. Id. at 2.

       Respondent reacted to the motion on April 1, 2024, indicating that he is satisfied
the statutory requirements for an award of attorneys’ fees and costs are met in this case
but deferring resolution of the amount to be awarded to my discretion. ECF No. 45.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates. Furthermore, Petitioner has provided supporting documentation for all
claimed costs, Motion at 10-14. And Respondent offered no specific objection to the rates
or amounts sought.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for
attorney’s fees and costs. I award a total of $13,723.94 (representing $13,201.40 in
fees plus $522.54 in costs) as a lump sum in the form of a check jointly payable to
Petitioner and Petitioner’s counsel, Bridget C. McCullough. In the absence of a
timely-filed motion for review (see Appendix B to the Rules of the Court), the Clerk of
Court shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
